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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                          CRIMINAL FILE NO.
        v.                                1:08-CR-189-9-TWT
 LARRY ROBINSON,
   Defendant.


                                    ORDER


      This is a criminal action.    It is before the Court on the Report and

Recommendation [Doc. 175] of the Magistrate Judge recommending denying the

Defendant’s Motion to Suppress [Doc. 122]. For the reasons set forth in the Report

and Recommendation, the agents had probable cause to arrest the Defendant.    The

Court approves and adopts the Report and Recommendation as the judgment of the

Court. The Defendant’s Motion to Suppress [Doc. 122] is DENIED.

      SO ORDERED, this 8 day of October, 2008.



                               /s/Thomas W. Thrash
                               THOMAS W. THRASH, JR.
                               United States District Judge
